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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA               § CRIMINAL CASE NO.
                                       §
v.                                     § 1:16-cr-00237-RWS-JSA
                                       §
JAMES G. MALONEY,                      §
                                       §
       Defendant.                      §


                              NOTICE OF FILING


      Defendant James G. Maloney respectfully files this Notice of Filing, hereby

informing the Court and the United States that Defendant has this 27th day of

February, 2023, filed and served a Motion for Guidance Regarding Securing the

Presence of Government Witnesses at Trial and Notice of Requests for Employee

Testimony Pursuant to United States ex rel. Touhy v. Regan, 340 U.S. 462 (1951),

addressed to the presiding Judge, counsel for the United States of America, and to

the Chief Information Security Officer assigned to this case.




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 Respectfully submitted, this 27th day of February, 2023.

                                GILLEN WITHERS & LAKE, LLC

                                /s/ Anthony C. Lake _________________
                                Anthony C. Lake, Esq.
                                Georgia Bar No. 431149
                                Craig A. Gillen, Esq.
 `                              Georgia Bar No. 294838
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                                             cgillen@gwllawfirm.com

                                Counsel for Dr. James G. Maloney




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                              CERTIFICATION

      The undersigned certifies, pursuant to N.D.Ga.L.Civ.R. 7.1D, that the

foregoing document has been prepared with one of the font and point selections

(Book Antigua, 13 point) approved by the Court in N.D.Ga.L.Civ.R. 5.1B.

                                    GILLEN WITHERS & LAKE, LLC

                                    /s/ Anthony C. Lake _________________
                                    Anthony C. Lake, Esq.
                                    Georgia Bar No. 431149

                                    Counsel for Dr. James G. Maloney




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                          CERTIFICATE OF SERVICE

      The undersigned hereby certifies that, on this 27th day of February, 2023,

the undersigned served the foregoing document by filing the document via the

Court’s Case Management/Electronic Case Filing (CM/ECF) system, which will

automatically serve notice of such filing on the following attorneys of record:

      John Russell Phillips, Esq.
      Assistant United States Attorney
      Stephen H. McClain, Esq.
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                              GILLEN WITHERS & LAKE, LLC

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                              Counsel for Dr. James G. Maloney




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